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                IN THE UNITED STATES DISTRICT COURT FOR
                    THE EASTERN DISTRICT OF VIRGINIA

 HALEY LANGERT,                               )
                                              )
                                              )
                Plaintiff,                    )
                                              )
                                              )
 v.                                           )         Civil Action No.: 20-cv-00944
                                              )
GEORGE MASON UNIVERSITY, et al.               )
                                              )
                                              )
                Defendants.                   )




            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                  OF DEFENDANTS’ MOTION TO DISMISS


       This lawsuit is one of many putative class action lawsuits filed against universities across

the country seeking refunds of tuition and fees because of the universities’ decisions to move to

virtual classes in the Spring 2020 semester as a result of COVID-19. Here, however, Plaintiff is

not asserting state law contract or unjust enrichment class action claims. Nor could she because

such claims would be bared in federal court under the Eleventh Amendment and could not be

heard in Virginia state court because Virginia does not recognize class actions. Instead, Plaintiff

attempts an end-run-around sovereign immunity, Eleventh Amendment immunity, and Virginia’s

prohibition on class actions by making the unprecedented argument that George Mason

University (“Mason”) engaged in a constitutional taking under the Fifth Amendment when it

kept tuition and fees already paid to it by Plaintiff. While creative, this attempt fails because the

state keeping money already given to it and in its possession, is not a taking. The complaint fails
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to identify any property in the possession of Plaintiff that Mason took. Plaintiff only alleges that

Mason has not refunded money. Plaintiff’s claim that a failure to give a refund constitutes a

constitutional taking is contrary to common sense, not to mention the law.

        At this stage, however, the Court need not address Plaintiff’s taking clause theory

because the complaint fails to meet the basic requirements for a claim under 42 U.S.C. § 1983.

Claims under § 1983 cannot be brought against state entities or state officials in their official

capacity; they can only be brought against state officials acting in their individual capacities.

Despite this black letter law, the only claims in the complaint arise under § 1983 and the only

defendants are Mason, a state entity, and the members of Mason’s Board of Visitors in their

official capacity. This Court must, therefore, dismiss the complaint.

                                     FACTUAL BACKGROUND

        Defendants have only included the facts necessary to resolve this motion. George Mason

University1 is a public, state university of the Commonwealth of Virginia. Compl. ¶ 11. The

other defendants named in the complaint in their official capacity are members of Mason’s Board

of Visitors. Compl. ¶ 12. The complaint names no state officials in their individual capacity.

                                      STANDARD OF REVIEW

        “A motion filed under Rule 12(b)(6) challenges the legal sufficiency of a complaint.”

Francis v. Giacomelli, 588 F.3d 186, 192 (4th Cir. 2009).

                                              ARGUMENT

        The only claims asserted in the complaint are two claims under 42 U.S.C. § 1983 against

Mason and members of Mason’s Board of Visitors in their official capacity. Mason is “a state-

supported university” and an “arm of the Commonwealth of Virginia.” Adkins v. Rector &


        1
         Pursuant to Virginia Code § 23.1-1500(A) George Mason University operates under the corporate name
“The Rector & Visitors of George Mason University.”

                                                          2
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Visitors of George Mason University, No. 15cv879, 2015 U.S. Dist. LEXIS 128150, at *3-4

(E.D. Va. Sept. 23, 2105); see also Compl. ¶ 11 (Mason is a “public university.”).

       This Court must dismiss Plaintiff’s claims because a § 1983 claim cannot be brought

against a state entity or state officials acting in their official capacity. Section 1983 provides a

cause of action against a “person” who subjects another person to a “deprivation of any rights,

privileges or immunities secured by the Constitution and laws” while acting under color of law.

The Supreme Court has long held that “neither a State nor its officials acting in their official

capacity are ‘persons’ under § 1983,” and, therefore, they cannot be the subject of a § 1983

claim. Will v. Mich. Dep’t of State Police, 491 U.S. 58, 71 (1989). Yet despite this black letter

law, the sole claims asserted in the complaint are § 1983 claims asserted against a state entity and

state officials acting in their official capacity. As this court has held, as a state entity, Mason

“cannot be sued under section 1983.” Adkins, 2015 U.S. Dist. LEXIS 128150, at *4. The

complaint must therefore be dismissed.

       Relatedly, this Court must also dismiss the complaint because it “is well settled that the

Eleventh Amendment bars a suit by private parties to recover monetary damages from the state

or its alter egos acting in their official capacities.” Huang v. Bd. of Govs. of Univ. of N.C., 902

F.2d 1134, 1138 (4th Cir. 1990). This bar includes claims asserted under § 1983. Id. Mason is a

“state-supported university that is entitled to the same sovereign immunity as the Commonwealth

of Virginia” and an “arm of the Commonwealth of Virginia.” Adkins, 2015 U.S. Dist. LEXIS

128150, at *3-4. Eleventh Amendment immunity “applies to state agencies that may be properly

characterized as ‘arms of the State,’” “as well as to state employees acting in their official

capacity.” Harter v. Vernon, 101 F.3d 334, 337 (4th Cir. 1996). As such, this suit is also barred

by the Eleventh Amendment.



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                                      CONCLUSION

      For the reasons stated above, the complaint must be dismissed.



September 29, 2020                        RESPECTFULLY SUBMITTED

                                                  /s/
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                                 CERTIFICATE OF SERVICE

               I hereby certify that on the 29th day of September 2020, I will electronically file

the foregoing with the Clerk of the Court using the CM/ECF system, which will then send a

notification of such filing (NEF) to counsel of record in this case.

                                                      /s/
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